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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SCIENTEL SOLUTIONS, LLC,                              )
                                                      )
               Plaintiff,                             )
                                                      )       Case No. 17-CV-00937
               v.                                     )
                                                      )       Judge Joan B. Gottschall
RICHARD SEIFF,                                        )
                                                      )
               Defendant.                             )

                                             ORDER

       The court is in receipt of the parties’ proposed redactions to their briefing on the motions

for sealed documents. First, as no party objects to much of these documents being made public,

the court will order that the redacted versions transmitted to chambers on February 10, 2017, be

filed immediately. See Citizens First Nat'l Bank of Princeton v. Cincinnati Ins. Co., 178 F.3d

943, 945 (7th Cir. 1999); Methodist Hosps., Inc. v. Sullivan, 91 F.3d 1026, 1032 (7th Cir. 1996).

       Without the benefit of specific briefing on the issue, the proposed redactions appear to

fall into four categories. The court has an independent obligation to decide whether a paper filed

in a case should be sealed. See, e.g., Baxter Int’l., Inc. v. Abbott Labs., 297 F.3d 544, 544–45

(7th Cir. 2002). Pursuant to that obligation, the court lists the categories of documents it has

received with its general concerns.

       1. Plaintiff’s alleged trade secrets. Plaintiff should be prepared to explain with

specificity its good-faith basis for claiming trade-secret protection. See generally In re Bank One

Secs. Litig., 222 F.R.D. 582, 58788 (N.D. Ill. 2004) (collecting authority and discussing standard

for sealing claimed trade secrets).

       2. Statements about the sectors in which Scientel has worked and assertions that

disclosure of protected material could adversely affect Scientel’s clients (e.g., Mem. Supp. Mot.

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ECF No 8 at 6). A review of what appears to be Scientel’s website shows that the company

advertises that it serves the industries mentioned in the plaintiff’s papers, so sealing that material

does not appear to be appropriate. Also, it is not entirely clear why the plaintiff’s arguments

about the potential impact of disclosure should be sealed.

       3. Portions of the papers arguably identifying Scientel’s current and former projects and

clients. It is unclear why this material should be sealed, given that Scientel’s president

apparently identified many of these potential projects in text messages to the defendant. (Seiff

Decl. Ex. A, ECF No. 16-1).

       4. File and directory names used in Scientel’s internal network. The names appear in

briefing, on screenshots, and in the audit report. (See Santos Decl. Ex. 3, 5; Zub Decl. ¶¶ 16, 19;

Seiff Resp. at 5; Seiff Decl. Ex. A.) To the extent this material does not fall into categories one

through three above, the reasons for its sealing are not clear on the record.

       Based on the foregoing, the parties are ordered to file by February 15, 2017, the redacted

papers sent to chambers on February 10, 2017. Redacted versions of documents should be

entered on the docket with an explicit reference to the sealed document by title and the number

of the related docket entry, e.g.., “Redacted Version of [123], Motion to Dismiss.” Redacted

motions should not be entered on the docket as a separate, pending motion. Any questions

should be directed to the ECF helpdesk or the courtroom deputy.

       A status conference is set for February 17, 2017, at 9:30 a.m., at which the parties will

have an opportunity to address the issues raised in this order.



Date: February 14, 2017                                       /s/
                                                       Joan B. Gottschall
                                                       United States District Judge



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